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IN THE UNITED sTATEs DISTRICT coURT "£° EY"

FOR THE WESTERN DISTRICT OF TENNESSEE

 

wEsTERN DIvIsIoN 05 ms 3 ' FH 2: 23
LECTROLARM CUSTOM ) umw id M
SYSTEMS, INC., ) W)Dli)SF' %SW
Plaintiff, §
v. § NO. 03-2330 MajAn
VICON INDUSTRIES, INC., et al., §
Defendants. §

 

ORDER DENYING SENSORMATIC’S CROSS MOTION FOR
A PROTECTIVE ORDER

 

Before the Court is Sensonnatic’s Cross Motion for a Protective Order Accornpanying its
Response to Plaintiff’ s Motion to Cornpel filed on May 31, 2005. For the reasons set forth
below, the Motion is DENIED.

In the instant Motion, Sensormatic requests that the Court “enter a protective order
declaring that fact discovery with respect to Sensormatic is closed.” (Cross Mot. for Prot. Order,
at 2). The Court, however, is not prepared to enter such an Order at this time. The Undersigned
recently entered an Order stating that “the deadlines for expert disclosures, dispositive motions,
disclosure of witnesses and exhibits, and motions and limine should be stayed” until Judge Mays
either renders a Claim Construction decision or instructs the parties to proceed with pre~trial
deadlines See Lectrolarm Custom Systems, Inc. v. Vz`con Industries, Inc., Order (W.D. Tenn.
Aug. l, 2005). Additionally, the parties have been given additional time to conduct Rule

30(b)(6) depositions Therefore, while some discovery may indeed be closed, the Coult is not

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prepared to enter a Protective Order closing all discovery With respect to Sensormatic. For these

reasons, the Cross Motion for Protective Order is DENIED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE .TUDGE

Date: cé;f 50/ 2004/

IT IS SO ORDERED.

 

   

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This notice confirms a copy of the document docketed as number 436 in
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